Case 1:19-md-02875-RBK-SAK Document
                      UNITED STATES 1871 Filed 01/14/22
                                      DISTRICT     COURTPage 1 of 16 PageID: 56942
                     FOR THE DISTRICT OF NEW JERSEY
                           CAMDEN VICINAGE

                                             MDL No. 2875

                                             Honorable Robert B. Kugler,
                                             District Court Judge
   IN RE: VALSARTAN, LOSARTAN,               Honorable Karen Williams
   AND IRBESARTAN PRODUCTS                   Magistrate Judge
   LIABILITY LITIGATION
                                             Honorable Thomas Vanaskie
                                             (Ret.),
                                             Special Discovery Master

                                             ORDER GRANTING IN
                                             PART AND DENYING IN
                                             PART MOTION TO
                                             SEAL PURSUANT TO
                                             L.CIV.R. 5.3




                                        1
Case 1:19-md-02875-RBK-SAK Document 1871 Filed 01/14/22 Page 2 of 16 PageID: 56943




         THIS MATTER is before the Court by way of Plaintiff’s challenge to the

   confidentiality designation of an email and deposition testimony of Min Li, Ph.D.,

   relating to that email, as well as by way of the “Motion to Redact and Seal Portions

   of the Hearing Transcript of September 10, 2021 Pursuant to Local Civil Rule 5.3(g)”

   (ECF No. 15841) filed by Defendants Zhejiang Huahai Pharmaceutical Co., Ltd.

   (“ZHP”), Prinston Pharmaceutical Inc. (“Prinston”), Huahai U.S. Inc. (“Huahai

   U.S.”), and Solco Healthcare US, LLC (“Solco,” and collectively with ZHP and

   Prinston, “the ZHP Parties”) on notice to liaison counsel for Plaintiffs; and having

   carefully considered the question of whether sealing of these documents is warranted

   given the requirements of the applicable case law and the factors contained in Local

   Civil Rule 5.3(c)(2); and the standards set forth therein having been found to

   have been met only to a portion of the email, but not as to Dr. Li’s

   deposition testimony and not as to the September 10, 2021 hearing

   transcript, the following Findings are made:

                                       FINDINGS

         1.    As noted in the Order of May 24, 2021 (ECF No. 1269) granting in part

   an earlier ZHP motion to seal documents (ECF No. 859), the parties to this Multi

   District Litigation arising out of the alleged contamination of blood pressure

   medication negotiated the terms of an agreed-upon order to maintain the


   1
    Throughout this Order, the designation “ECF No. ___” shall refer to the document
   number of a particular filing in the Court’s ECF system.
                                             2
Case 1:19-md-02875-RBK-SAK Document 1871 Filed 01/14/22 Page 3 of 16 PageID: 56944
   confidentiality of any materials so designated by a party. On June 26, 2019, the

   Honorable Robert B. Kugler entered the agreed-upon self-executing

   “Confidentiality and Protective Order” (the “Protective Order”) (ECF No. 139).

         2.    The Protective Order permits the producing party to safeguard

   information by designating a document either “CONFIDENTIAL INFORMATION”

   or “RESTRICTED CONFIDENTIAL INFORMATION.” If a document does not

   contain one of these designations, then the information contained therein may be

   considered publicly accessible.

         3.    The Protective Order defines the type of information that warrants a

   confidentiality designation:

               The term “CONFIDENTIAL INFORMATION” as used in
               this Protective Order means all information produced by
               any party in the course of discovery or other proceedings in
               this case (electronic or otherwise) which is proprietary,
               trade secret and/or highly sensitive commercial information,
               and which is believed in good faith by the Producing Party
               to have the potential, if disclosed, for causing competitive
               harm to it or giving a competitive advantage to others,
               and/or which is not publicly available and which a party
               believes in good faith to be subject to federal, state, or
               foreign data protection laws or other similar privacy
               obligations imposed by law.

                                          ***

               “RESTRICTED CONFIDENTIAL INFORMATION”
               means Documents that a Party has designated as
               “RESTRICTED CONFIDENTIAL” in accordance with this
               Protective Order and includes Documents a Party
               reasonably believes contain, describe, identify, or refer to
               highly confidential commercial, business, financial, or
               competitive     information      including      proprietary
               manufacturing and production information (including
               formulation); business and prospective marketing plans;
                                            3
Case 1:19-md-02875-RBK-SAK      Document
               trade secrets; customer    1871
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                                                                     product
                 cost and projected sales data; data relating to mergers and
                 acquisitions; other information of a highly sensitive nature
                 about the Party, which is not publicly available, the
                 disclosure of which could cause the Producing Party
                 competitive harm. . . .

   (ECF No. 139, ¶¶ 9(B), (M).)
          4.      Recognizing that in a case of this nature, complexity, and business

   sensitivity, liberal designation of documents as confidential is anticipated, the

   Protective Order states that “nothing herein shall be construed to prevent a

   Producing Party from designating documents as ‘CONFIDENTIAL

   INFORMATION’ in order to expedite the flow of discovery and to facilitate

   discovery. . . .” (Id. ¶ 9(B)).

          5.     Pursuant to the Protective Order a party may designate a document as

   “CONFIDENTIAL INFORMATION” or “RESTRICTED CONFIDENTIAL

   INFORMATION” and, if so, the information may only be used for purposes of this

   litigation and may only be disclosed to designated persons. Id. ¶¶ 22, 24.

   Disclosure of information designated as “CONFIDENTIAL INFORMATION” or

   “RESTRICTED CONFIDENTIAL INFORMATION” other than in accordance

   with the Order may subject the disclosing person to sanctions. Id. ¶ 26.

          6.     Pursuant to the Protective Order, the ZHP Parties designated as

   “Restricted Confidential Information” a July 27, 2017 email authored by Jinsheng

   Lin that he sent to a number of individuals. Dr. Li, one of the intended recipients of

   the July 27, 2017 email, was questioned about the email during his April 20, 2021

   deposition. The email was also discussed by counsel during the hearing held on


                                              4
Case 1:19-md-02875-RBK-SAK Document 1871 Filed 01/14/22 Page 5 of 16 PageID: 56946
   September 10, 2021 on Plaintiffs’ motion to compel additional discovery. The ZHP

   Parties seek to maintain under seal the July 27, 2017 email and approximately twenty-

   two (22) pages of the transcript of Dr. Li’s deposition testimony, and to redact those

   parts of the September 10, 2021 hearing transcript that concern the July 27, 2017

   email.

            7.   The Protective Order provides that the “portions of any . . . hearing

   transcript taken in the Litigation, wherein the Documents themselves, or the contents

   of the Documents, designated as PROTECTED INFORMATION are identified,

   discussed, or disclosed, shall also be designated as PROTECTED INFORMATION

   and shall be subject to the terms of this Protective Order.” Id. at ¶ 17(B).

            8.   The Protective Order establishes the procedures to be followed when

   material designated as “CONFIDENTIAL INFORMATION” or “RESTRICTED

   CONFIDENTIAL INFORMATION” is submitted as part of a court filing.

   Specifically, the Protective Order provides that “[w]here the filing party has not had

   an opportunity to confer with the Producing Party, in advance of a filing, the filing

   party shall not attach materials containing ‘PROTECTED INFORMATION’ to its

   filing but shall instead designate by Bates number the materials containing

   ‘PROTECTED INFORMATION’ that would have been attached or completely

   redact all ‘PROTECTED INFORMATION’ from such materials.” Id. The Protective

   Order then requires the filing and producing parties to confer “to determine whether

   they can agree upon non-confidential redacted or excerpted pages of materials

   containing ‘PROTECTED INFORMATION’ to attach to the filing in place of the

                                              5
Case 1:19-md-02875-RBK-SAK Document 1871 Filed 01/14/22 Page 6 of 16 PageID: 56947
   Bates number designations or redacted materials.” Id. If the parties are unable to

   agree, “the designating party must file a motion to seal the materials containing

   ‘PROTECTED INFORMATION’ pursuant to the requirements for doing so as set

   forth in Local Rule 5.3(c), and within thirty (30) days of the completion of briefing

   related to the original motion, or else waive confidentiality as to the materials

   containing ‘PROTECTED INFORMATION’ at issue.” Id.

         9.     The parties have complied with the requirements of Local Rule 5.3.

   Specifically, the ZHP Parties have submitted an index, as required by Local Rule

   5.3(c), identifying the material to be sealed, the basis for sealing, the purported injury

   that may result if sealing is denied, why a less restrictive alternative to sealing is not

   appropriate, and the bases for Plaintiffs’ opposition to sealing. (Ex. B to Bonner

   Declaration, ECF No. 1584-6.) Also submitted in support of the Motion to Seal is the

   Declaration of Dr. Li. (ECF No. 1584-5.)

         10.    The Third Circuit has identified the following as a non-exhaustive and

   non-mandatory list of factors to consider when deciding a motion to seal:

                  a. Whether disclosure would violate any privacy interests;

                  b. whether the information is being sought for a
                     legitimate purpose or for an improper purpose;

                  c. whether disclosure            would   cause    a    party
                     embarrassment;

                  d. whether confidentiality is being sought over
                     information important to public health and safety;

                  e. whether the sharing of information among litigants
                     will promote fairness and efficiency;
                                               6
Case 1:19-md-02875-RBK-SAK
                f. whether aDocument 1871 Filed from
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                                                           order7 ofof16 PageID: 56948
                       confidentiality is a public entity or official; and

                    g. whether the case involves issues important to the public.

   In re Avandia Mktg., Sales Practices and Products Liab. Litig., 924 F.3d 662, 670 (3d

   Cir. 2019) (quoting Glenmede Tr. Co. v. Thompson, 56 F.3 476, 483 (3d Cir. 1995).

         11.      The foregoing factors are applied in the context of materials that are not

   part of the “court record.” However, a “more rigorous common law right of access”

   applies when, as here, the discovery materials are filed with the court. Avandia, 924

   F.3d at 670. “In addition to recognizing fewer reasons to justify the sealing of court

   records, the public right of access—unlike a Rule 26 inquiry—begins with a

   presumption in favor of public access.” Id. (citing Goldstein v. Forbes (In re

   Cendant Corp.), 260 F.3d 183, 192–93 (3d Cir. 2001).

         12.      “Analytically distinct from the District Court’s ability to protect

   discovery materials under Rule 26(c), the common law presumes that the public has a

   right of access to judicial materials. In both criminal and civil cases, a common law

   right of access attaches ‘to judicial proceedings and records.’” In re Avandia, 924

   F.3d at 672.

         13.      The common law right of access applies to a “judicial record.” A

   “judicial record” is a document that “has been filed with the court . . . or otherwise

   somehow incorporated or integrated into a district court’s adjudicatory proceedings.”

   Avandia, 924 F.3d at 672. “Once a document becomes a judicial record, a

   presumption of access attaches.” Id. The ZHP Parties do not dispute that the July 27,

   2017 email and the transcripts in question are “judicial records” in that they are

                                                 7
Case 1:19-md-02875-RBK-SAK Document 1871 Filed 01/14/22 Page 8 of 16 PageID: 56949
   “relevant to the performance of the judicial function,” i.e., resolving discovery

   disputes, and “useful in the judicial process.” In re Avandia Mktg., Sales Practices

   and Products Liab. Litig., 484 F. Supp. 3d 249, 259 (E.D. Pa. 2020).

         14.    “The party seeking to overcome the presumption of access bears the

   burden of showing ‘that the interest in secrecy outweighs the presumption.’ The

   movant must show ‘that the material is the kind of information that courts will protect

   and that disclosure will work a clearly defined and serious injury to the party seeking

   disclosure.’” Id.
          15. As explained in Avandia, 924 F.3d at 672-73 (cleaned up and emphasis

   added):

             To overcome that strong presumption, the District Court must articulate
             the compelling, countervailing interests to be protected, make specific
             findings on the record concerning the effects of disclosure, and provide
             an opportunity for interested third parties to be heard. In delineating the
             injury to be prevented, specificity is essential. Broad allegations of harm,
             bereft of specific examples or articulated reasoning, are insufficient.
             Careful factfinding and balancing of competing interests is required
             before the strong presumption of openness can be overcome by the
             secrecy interests of private litigants. To that end, the District Court must
             conduct a document-by-document review of the contents of the
             challenged documents.

         16.    “[C]oncern about a company's public image, embarrassment, or

   reputational injury, without more, is insufficient to rebut the presumption of public

   access.” Id. at 676. Furthermore, “a person's motive for inspecting or copying

   judicial records is irrelevant under the common law right of access.” Id. at 677.

         17.    With respect to access to judicial records in the context of litigation

   concerning the safety of prescription medication, the Third Circuit has observed:


                                               8
Case 1:19-md-02875-RBK-SAK Document 1871 Filed 01/14/22 Page 9 of 16 PageID: 56950

                  [T]he public’s right of access must be the starting point, not just
                  one of multiple factors. The scale is tipped at the outset in favor
                  of access. And the right of access is not a mere formality – it
                  promotes public confidence in the judicial system; diminishes
                  possibilities for injustice, incompetence, perjury, and fraud; and
                  provide[s] the public with a more complete understanding of the
                  judicial system and a better perception of its fairness. These
                  interests are particularly important in a case such as this one,
                  which implicates the public's trust in a well-known and (formerly)
                  widely-used drug.

                  Id. (emphasis supplied).

         18.     The July 27, 2017 email, the deposition testimony of Dr. Li concerning

   this email, and the September 10, 2021 hearing transcript have been reviewed with

   these principles in mind. Each of the documents will be discussed in turn.

               A. July 27, 2017 Email

         19.     As described in the proposed sealing order submitted by the ZHP

   Parties as a publicly-accessible document (ECF No. 1584-3), the two-page July 27,

   2017 email “was prepared by Jinsheng Lin as part of a project by ZHP to improve

   its manufacturing processes for irbesartan API2—not valsartan –at the research and

   development stage.”

         20.     As explained in more detail in Dr. Li’s Declaration (ECF No. 1584-5),

   another document filed by the ZHP Parties on the publicly-accessible docket,

   “[t]he July 27, 2017 email . . . concerns the results of a preliminary investigation by


   2
    API is the abbreviation for “Active Pharmaceutical Ingredient,” defined as “any
   substance that is intended for incorporation into a finished drug product and is
   intended to furnish pharmacological activity or other direct effect in the diagnosis,
   cure, mitigation, treatment, or prevention of disease, or to affect the structure or
   any function of the body.” 21 C.F.R. § 207.1.
                                              9
Case 1:19-md-02875-RBK-SAK Document 1871 Filed 01/14/22 Page 10 of 16 PageID: 56951
   ZHP’s technical analysis department (CEMAT) into certain technical changes

   observed during the attempted process improvements for the manufacture of

   irbesartan API.” Dr. Li’s publicly-available declaration states that “the July 27,

   2017 email focuses on proprietary technical improvements that were tested by the

   Chuannan facility’s Technical Department, the Technical Department’s

   communications with CEMAT regarding certain technical changes observed during

   the process improvements, and CEMAT’s analysis for an unknown impurity

   observed during the attempted process improvement of irbesartan API.”

   According to Dr. Li, “[t]he information disclosed in the July 27, 2017 email is

   highly confidential, proprietary, and competitively sensitive because it reveals how

   the ZHP Parties sought to optimize their procedures for manufacturing irbesartan

   API by addressing certain technical process changes, and the specific tests

   conducted by CEMAT to investigate these changes. These actions were the result

   of significant research and development by ZHP and have not been disseminated

   outside of the company.” Dr. Li concludes by asserting that “Disclosure of ZHP’s

   API process optimization strategies and testing methods to ZHP’s direct

   competitors would result in significant competitive harm to the ZHP Parties. . . .

   Disclosure of ZHP’s confidential information would allow ZHP’s direct

   competitors to benefit from and implement ZHP’s proprietary research and

   development information . . ., awarding a significant competitive advantage to the

   ZHP Parties’ competitors.”

         21.   The ZHP Parties are entitled to protection for its testing methods and

                                            10
Case 1:19-md-02875-RBK-SAK Document 1871 Filed 01/14/22 Page 11 of 16 PageID: 56952
   product “optimization strategies,” but the July 27, 2017 email includes information

   having nothing to do with such matters. Of particular relevance here is the email’s

   explicit reference to valsartan and a publicly available patent dealing with

   valsartan.

         22.    The July 27, 2017 email also contains information that is otherwise in

   the public domain. For instance, ZHP’s valsartan, losartan, and irbesartan were

   subject to publicly-disclosed recalls for suspected contamination with carcinogenic

   nitrosamines. See FDA’s Recall Announcement Regarding ZHP’s Valsartan,

   https://www.fda.gov/news-events/press-announcements/fda-announces-voluntary-

   recall-several-medicines-containing-valsartan-following-detection-impurity (last

   visited Jan. 13, 2022). Moreover, an FDA-issued slide deck entitled “Nitrosamines

   as Impurities in Drugs; Health Risk and Mitigation Workshop Day 1,” contains slides

   reporting that “NDMA identified as a process related contaminant in Valsartan

   NDMA may have been present in batches reaching back to 2012 when the synthesis

   was changed to a process using dimethylformamide (DMF) as solvent and NaNO2

   [(sodium nitrite)] as a quenching agent to destroy azide (sodium azide, used for

   tetrazole synthesis),” and “[a]ll Sartans w[]ith a tetrazole ring system synthesized by

   this technology [are] expected to be contaminated.”

   (https://www.fda.gov/media/147331/download (last visited Jan. 13, 2022)). The

   FDA has also issued guidance on testing methodologies to detect N-

   Nitrosodimethylamine (NDMA) and N-Nitrosodiethylamine (NDEA) in valsartan.

   See “Combined N-Nitrosodimethylamine (NDMA) and N-Nitrosodiethylamine

                                              11
Case 1:19-md-02875-RBK-SAK Document 1871 Filed 01/14/22 Page 12 of 16 PageID: 56953
   (NDEA) Impurity Assay by GC/MS-Headspace” reported at

   https://www.fda.gov/media/117843/download (last visited January 13, 2022).

         23.   An order sealing a judicial record must be based on “current evidence

   to show how public dissemination of the pertinent materials now would cause the

   competitive harm” the ZHP Parties claim. Leucadia, Inc. v. Applied Extrusion

   Techs., Inc., 998 F.2d 157, 167 (3d Cir. 1993) (citation omitted). The ZHP Parties

   do not reconcile their claims of competitive harm from disclosure of the July 27,

   2017 email with the publicly available information concerning the process for

   making valsartan and testing methodologies for detection of the suspected

   carcinogens of NDMA and NDEA.

         24.   The only data not shown to be available publicly found in the July 27,

   2017 email are the chemical structure and molecular weight of the observed

   impurity, as well as the possible formation route for the contaminant.

         25.   Assuming this information has competitive significance, a redacted

   version of the email can be produced that would not reveal confidential product

   optimization strategies or testing methodologies. Specifically, the ZHP Parties

   may redact from the first page of the email the second paragraph of the email,

   beginning with “We investigated” and including the graph and image of the

   suspected chemical structure. On the second page of the email, the ZHP Parties

   may redact the chemical formula and the image of the chemical structure, but none

   of the text. The redactions afford substantial deference to the ZHP Parties’

   articulation of feared competitive harm while at the same time giving public access

                                            12
Case 1:19-md-02875-RBK-SAK Document 1871 Filed 01/14/22 Page 13 of 16 PageID: 56954
   to the parts of a document that are otherwise within the public domain and may bear

   on the liability questions presented in this case. It was incumbent upon the ZHP

   Parties to provide evidence to support specific findings concerning the adverse

   effects of disclosure, and the ZHP Parties have not presented such evidence. Stated

   otherwise, the ZHP Parties have not presented evidence of “a clearly defined and

   serious injury” resulting from disclosure of the July 27, 2017 email as required by In

   re Avandia.

                  B. Deposition Testimony of Dr. Li

         26.     Dr. Li was questioned about the July 27, 2017 email during his

   deposition on April 20, 2021 from page 84, line 12 through page 107, line 14.

         27.     His testimony essentially confirms the content of the July 27, 2017

   email that has been found to not warrant sealing.

         28.     The ZHP Parties argue that Dr. Li’s testimony, along with the July 27,

   2017 email, describe “the ZHP Parties’ process optimization methods as to the

   manufacture of irbesartan, including observations as to technical changes observed,

   and proposed testing to examine and analyze these results,” and that “[s]uch

   information, if disclosed to the ZHP Parties’ competitors, could be utilized in their

   own manufacturing and testing procedures for this product, allowing them to reap

   the benefits of the ZHP Parties’ confidential, proprietary research.” (ZHP Supp.

   Brief, ECF No. 1735 at 14.) But there is nothing specific about “process

   optimization efforts” in Dr. Li’s testimony and he did not describe testing

   methodologies that are proprietary or outside the public domain. While the ZHP

                                             13
Case 1:19-md-02875-RBK-SAK Document 1871 Filed 01/14/22 Page 14 of 16 PageID: 56955
   Parties make conclusory claims of competitive harm, they fail to provide any

   corroborating evidence.

         29.     The ZHP Parties also contend that Plaintiffs have not shown a

   compelling reason why the testimony should not be redacted, pointing out that

   Plaintiffs are free to use the July 27, 2017 email and Dr. Li’s related testimony and

   there is no urgent public health concern since ZHP’s valsartan has been recalled and

   ZHP is presently barred from exporting its valsartan to the United States. The ZHP

   Parties’ argument disregards the fact that the email and related testimony of Dr. Li

   are properly regarded as “judicial records.” There is thus a presumption of access

   accorded the email and related testimony, and a party’s motivation for providing

   access to judicial records is not relevant. See In re Avandia, 924 F.3d at 677.

   Accordingly, Dr. Li’s testimony concerning the July 27, 2017 email need not be

   sealed.

               C. Transcript of the September 10, 2021 Hearing

         30.     On September 10, 2021 oral argument was presented by Plaintiffs and

   the ZHP Parties concerning Plaintiffs’ motion to compel additional discovery. This

   motion was prompted, at least in part, by the ZHP Parties’ production of the July

   27, 2017 email.3

         31.     Because the July 27, 2017 email was designated as “Restricted

   Confidential Information” by the ZHP Parties, the hearing was conducted in

   camera.

   3
    The motion was granted in part by Special Master Order 54, ECF No. 1753, filed
   on November 12, 2021.
                                             14
Case 1:19-md-02875-RBK-SAK Document 1871 Filed 01/14/22 Page 15 of 16 PageID: 56956
         32.    On September 27, 2021, the ZHP Parties moved to redact and seal

   portions of the transcript of the September 10, 2021 hearing. (ECF No. 1584.) The

   parts that the ZHP Parties seek to redact appear on pages 10 through 37 of the

   transcript. The requested redactions are modest, consisting of a few words or lines.

         33.    It is difficult to conceive how the information sought to be redacted

   would disclose proprietary or valuable competitive information. For example, the

   ZHP Parties seek to redact the title given to its product optimization process, but

   there does not seem to be any need to keep that title confidential or any intrinsic

   value to that title. Other information sought to be redacted, such as the content of

   the July 27, 2017 email, has been found to not warrant the protection of a sealing

   order, or is the characterization of the evidence by Plaintiffs’ counsel. While the

   information in the email and an advocate’s counsel’s characterization of the

   evidence may be disconcerting, there is no basis to redact any parts of the

   September 10th transcript. Accordingly, the motion to redact and seal the

   transcript of the September 10th hearing (ECF No. 1584) will be denied.



         Pursuant to the foregoing Findings and for good cause shown IT IS on this

     13th day of January, 2022, HEREBY ORDERED AS FOLLOWS:

           1. The ZHP Parties’ Motion to Redact and Seal the Transcript of the

               September 10, 2021 Hearing (ECF No. 1584) is DENIED.

           2. Plaintiffs’ challenge to the “Restricted Confidential Information”

               designation of the July 27, 2017 email is sustained in part. The July

                                             15
Case 1:19-md-02875-RBK-SAK Document 1871 Filed 01/14/22 Page 16 of 16 PageID: 56957
             27, 2017 email may be redacted only as set forth above.

          3. Plaintiffs’ challenge to the designation of parts of the transcript of the

             April 20, 2021 deposition of Dr. Min Li as “Restricted Confidential

             Information” is sustained.

          4. Any objection to this Order shall be filed no later than twenty-one (21)

             days after entry of this Order.

          IT IS FURTHER ORDERED THAT the documents in question shall

          remain under seal until any objections to this Order are resolved or the time

          for filing objections has expired.



                                    s/ Thomas I. Vanaskie
                                    Hon. Thomas I. Vanaskie (Ret.)
                                    Special Master




                                               16
